                      Case 4:20-cr-00777-JGZ-LCK Document 55 Filed 05/28/21 Page 1 of 2
    Petition12C – Rev. 6/18                                                                                          LODGED
                                                                                                    FILED

                                        UNITED STATES DISTRICT COURT                               MAY 28 2021
                                                           for                                      CLERK U.S. DISTRICT COURT
                                                                                                       DISTRICT OF ARIZONA

                                                        Arizona
                                        Petition for Warrant to Revoke Probation
                                                                                                 T-SEALED
Name of Offender:                    Morris Richard Jones, III          Case No.: CR-20-00777-001-TUC-JGZ (LCK)

Name of Judicial Officer:            The Honorable Jennifer G. Zipps
                                     United States District Judge


Date of Original Sentence:           9/8/2020

Original Offense:                    Count 1: Conspiracy to Transport Illegal Aliens for the Purpose of Commercial
                                     Advantage of Private Financial Gain, 8 U.S.C. § 1324(a)(1)(A)(v)(I),
                                     1324(a)(1)(A)(ii), and 1324(a)(1)(i), a Class C Felony
Original Sentence:                   36 months Probation

Type of Supervision:                 Probation                    Date Supervision Commenced: 9/8/2020
                                                                  Date Supervision Expires: 9/7/2023


Assistant U.S. Attorney:             Anna R. Wright               Defense Attorney: Arthur Zaragoza
                                     520-620-7446                                   520-471-6000



                                  Petitioning the Court to issue a Warrant to Revoke Probation

    The probation officer alleges Morris Richard Jones, III has violated the following condition(s) of supervision:

        Allegation            Nature of Noncompliance

              A               Mandatory Condition #3 which states, You must refrain from any unlawful use of a
                              controlled substance. The use or possession of marijuana, even with a physician's
                              certification, is not permitted. Unless suspended by the Court, you must submit to one
                              drug test within 15 days of release from imprisonment and at least two periodic drug
                              tests thereafter, as determined by the court.

                                 1) On or about April 7, 2021, Jones used an illegal substance, to wit: marijuana.
                                    Available evidence includes a signed admission form and testimony from the
                                    probation officer. Grade C violation. U.S.S.G. §7B1.1(a)(3)(B).

                                 2) On or about May 15, 2021, Jones used an illegal substance, to wit: cocaine.
                                    Available evidence includes a signed admission form and probation officer
                                    testimony. Grade C violation. U.S.S.G. §7B1.1(a)(3)(B).

           CC: AUSA: A. Wright, PO, USM                                      Copies distributed
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RE: Morris Richard Jones, III
Petition to Revoke Probation
May 28, 2021


U.S. Probation Officer Recommendation and Justification

Morris Richard Jones, III has violated the trust of the Court. A warrant is recommended to initiate revocation
proceedings as Morris Richard Jones, III will likely not appear on a summons.

I declare under penalty of law that the foregoing is true and correct to the best of my knowledge:




                                                                5/28/2021
Xochilt Alvarez                                                 Date
U.S. Probation Officer
Office: 602-682-4325
Cell: 602-377-3153




                                                                5/28/2021
For: Ariel Palafox                                              Date
Supervisory U.S. Probation Officer
Office: 602-682-4342
Cell: 602-725-3573


The Court Orders

☐      No Action
☐
x      The Issuance of a Warrant
☐      The Issuance of a Summons
☐      Other


                                                                       05/28/2021
The Honorable Leslie A. Bowman                                  Date
United States Magistrate Judge
For: The Honorable Jennifer G. Zipps
United States District Judge
